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                        Exhibit A
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       The following images were obtained from the Homepage of the Ackerman McQueen
website. 1




      1
          Ackerman McQueen website, Homepage, https://www.am.com/ (last visited: Aug. 29, 2019).

                                                     1
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      The following images were obtained from the Ackerman Website webpage entitled “Our
Media Evolution” 2:




          2
            Ackerman McQueen website, Our Media Evolution, https://www.am.com/projects/nratv-project/ (last
visited: Aug. 29, 2019).

                                                    2
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     The following image was obtained from the page entitled “Our Team” on the Ackerman
McQueen website 3:




   The following images were obtained from the page entitled “Gallery” on the Ackerman
McQueen website 4:




        3
            Ackerman McQueen website, Our Team, https://www.am.com/our-team/ (last visited: Aug. 29, 2019).
        4
          Ackerman McQueen website, Gallery, https://www.am.com/gallery/ (last visited: Aug. 29, 2019). These
images also appear on the Ackerman Website under the “Clients” tab within the “Gallery” page.

                                                       3
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                                    4
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                                    5
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